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AO 442 (Rev. 11111) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                     for the

                                                              District of Columbia


                  United States of America
                                  v.                                   )
                    CHARLES         DONOHOE                            )        Case No.     21-CR-17S
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                              Defendant


                                                         ARREST WARRANT
To:       Any authorized law enforcement officer


          YOU ARE COMMANDED                    to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person /0 be arrested)       CHARLES    DONOHOE
                                     ----------------------------------------------------------------------
who is accused of an offense or violation based on the following document filed with the court:

o Indictment        d Superseding Indictment    o Information       o Superseding Information                              0 Complaint
o Probation Violation Petition    o Supervised Release Violation Petition    o Violation Notice                            0 Order of the Court

This offense is briefly described as follows:
  18 U.S.C.    371 - Conspiracy
  18 U.S.C.    1S12(c)(2) - Obstruction of an Agency Proceeding
  18 U.S.C.    1361 - Destruction of Property
  18 U.S.C.    231 (a)(3) - Obstruction of Law Enforcement During a Civil Disorder
  18 U.S.C.    17S2(a)(1) - Enter/Remain in Restricted Building or Grounds
  18 U.S.C. 1752(a)(2) - Dlso'de,'y 0' DisruptiveConduct InRes"'cted BU~'ujn"ds                             _   Digitally signed by G. Michael
                                                                                                                Harvey
                                                                                                                Date: 2021.03.1016:31 :29
Date:          03/1 0/2021                                                                     ~                -05'00'
                                                                                                Issuing officer's signature

City and state:        Washington,        DC                                         G. Michael Harve , United States Ma istrate
                                                                                                 Printed name and title
                                                                                                          Jud e
                                                                     Return

           This warrant was received on (do/e)          3/11/2. ,          , and the person was arrested on (date)
at (city and state)   J<e.(
                          ne cs,\t iHe, I I\.) ~

Date:*tz~_
                                                                                                  Printed name and title
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